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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS Defendants request permission to serve sealed witness binders upon

opposing counsel and their witnesses ahead of the November 9, 2020, bench trial in this matter

(Dkt. No. 162). Plaintiff opposes (Dkt. No. 163). It is hereby

          ORDERED that the parties may serve sealed witness binders in advance of the trial,

under seals that will be broken at the time of witness examination. At trial, any document shown

to a witness from these binders must be simultaneously displayed to the Court digitally. It is

further

          ORDERED that if the parties have any new documents that will be used on cross-

examination, by November 5, 2020, they shall submit digital copies of those documents to the

Court ex parte at Schofield_NYSDChambers@nysd.uscourts.gov. Following cross examination,

each party shall submit any such documents to the opposing party.

Dated: November 5, 2020
       New York, New York
